       Case 4:22-cv-02626 Document 11 Filed on 08/23/22 in TXSD Page 1 of 2




                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

Wayne W. Curry,                      §
                                     §
   plaintiff,                        §
                                     §
v.                                   §                         Case: 4:22-cv-2626
                                     §
Newrez LLC d/b/a Newrez Mortgage LLC §
d/b/a Shellpoint Mortgage Servicing, §
                                     §
   defendant.                        §

                       STIPULATION OF DISMISSAL WITH PREJUDICE

         Plaintiff Wayne W. Curry and defendant NewRez LLC d/b/a Shellpoint Mortgage

Servicing file this stipulation of dismissal with prejudice pursuant to federal rule of civil procedure

41(a) and respectfully show the court as follows:

         The parties hereby announce all disputes among them in the lawsuit are resolved and

hereby stipulate to the dismissal with prejudice of Mr. Curry's claims against Shellpoint.

         The parties will each bear their own costs and fees incurred herein.

         WHEREFORE, the parties request the court enter the proposed agreed order of dismissal

with prejudice submitted herewith to dismiss Mr. Curry's claims against Shellpoint.




STIPULATION OF DISMISSAL WITH PREJUDICE                                                       Page 1 of 2
Case 4:22-cv-2626; Wayne W. Curry v. NewRez LLC
       Case 4:22-cv-02626 Document 11 Filed on 08/23/22 in TXSD Page 2 of 2




Date: August 23, 2022                             Respectfully submitted,



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                                                  Attorneys for defendant NewRez LLC d/b/a
                                                  Shellpoint Mortgage Servicing



                                      CERTIFICATE OF SERVICE

         A true and correct copy of this document was served on August 23, 2022 as follows:

VIA CM/ECF SYSTEM
James Minerve
13276 N. Highway 183, Suite 209
Austin, Texas 78750
Attorney for plaintiff Wayne W. Curry

                                                        /s/ Matthew W. Lindsey
                                                     Matthew W. Lindsey




STIPULATION OF DISMISSAL WITH PREJUDICE                                                 Page 2 of 2
Case 4:22-cv-2626; Wayne W. Curry v. NewRez LLC
